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                              8
                              9                             UNITED STATES DISTRICT COURT
                           10                              CENTRAL DISTRICT OF CALIFORNIA
                           11 GEORGE TORRES, an individual; and                   Case No. 2:17-cv-04059-MCS-JEM
                              ROBERTA TORRES, an individual,
                           12                                                     MEMORANDUM OF POINTS AND
                                       Plaintiff,                                 AUTHORITIES IN SUPPORT OF
                           13                                                     MOTION FOR DETERMINATION
                                  vs.                                             OF GOOD FAITH SETTLEMENT
                           14
                              HAROLD IGDALOFF, et al.,                            The Hon. Mark C. Scarsi
                           15
                                       Defendants.                                Action file:     May 31, 2017
                           16                                                     Trial Date:      September 6, 2022
                              UNION PACIFIC RAILROAD
                           17 COMPANY, a Delaware corporation
                                                                                  Hearing Date:    August 8, 2022
                           18     Defendant and Counterclaimant,                  Hearing Time:    9:00 a.m.
                           19 vs.
                           20 GEORGE TORRES, et al.,
                           21              Plaintiffs and Counterdefendants.
                           22 AND RELATED COUNTERCLAIMS
                              AND CROSSCLAIMS
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                              1 I.         INTRODUCTION
                              2            This action concerns the determination of liability for and allocation of costs
                              3 to investigate and remediate contamination at three adjacent and contiguous parcels
                              4 of property in Los Angeles, California (Parcels A, B, and C, collectively, the
                              5 “Property” or “Site”), resulting from operations dating back to the 1970s and 1980s.
                              6 A bench trial is currently scheduled for September 6, 2022, but the trial will become
                              7 unnecessary if the Court grants this motion and approves the settlement between
                              8 Union Pacific Railroad Company (“Union Pacific”), on the one hand, and Harold
                              9 Igdaloff, Estate of Evelyn Igdaloff, Deceased, and Igdaloff 1993 Family Trust
                           10 (collectively, “the Igdaloff Parties”), on the other hand.
                           11              Union Pacific and the Igdaloff Parties have entered into a settlement
                           12 agreement in good faith to resolve the Igdaloff Parties’ liability to Union Pacific in
                           13 this action. While Union Pacific is nominally a defendant in this action, it has
                           14 incurred the vast majority of costs associated with the investigation and remediation
                           15 of contamination at the Property, and Union Pacific would be the only party at trial
                           16 seeking contribution for its costs. The Igdaloff Parties are the only other remaining
                           17 parties to the litigation with the financial resources to contribute towards the
                           18 investigation and remediation of the Site. The settlement reached between Union
                           19 Pacific and the Igdaloff Parties, provides for the payment of $4,900,000 by the
                           20 Igdaloff Parties to Union Pacific in resolution of Union Pacific’s claims against the
                           21 Igdaloff Parties, which will be reflected and confirmed in a Stipulated Judgment
                           22 pursuant to Federal Rule of Civil Procedure 41(a)(2), which will seek this Court’s
                           23 continuing jurisdiction over certain matters reflected in the settlement. Decl. of
                           24 Sarah P. Bell in Supp. of Mot. for Determination of Good Faith Settlement (“Bell
                           25 Decl.”) ¶ 2. Union Pacific will continue in its role as the sole party responding to
                           26 the Imminent and Substantial Endangerment Order and as the sole party paying to
                           27 investigate and remediate the Site. The settlement between Union Pacific and the
                           28 Igdaloff Parties is conditioned upon entry of an Order by this Court finding that the
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                              1 settlement was entered into in good faith and barring further contribution claims
                              2 against the Igdaloff Parties.
                              3            This settlement reflects the fact that as the last two parties remaining in this
                              4 lawsuit with the ability to contribute towards the cleanup,1 Union Pacific and the
                              5 Igdaloff Parties must disproportionately bear the burden of the cleanup costs. The
                              6 total settlement payment of $4,900,000 by the Igdaloff Parties represents over 50%
                              7 of the estimated past and future cleanup costs, for which the Igdaloff Parties are
                              8 liable under CERCLA, in addition to the Igdaloff Parties’ contractual liability to
                              9 indemnify Union Pacific for these costs pursuant to the relevant lease. The Igdaloff
                           10 Parties’ liability under CERCLA stems from their ownership and lease of the subject
                           11 parcels. There is no evidence that the Igdaloff Parties operated on the Site, handled
                           12 or released any hazardous substances at the Site, or otherwise contributed to
                           13 contamination at the Site. The Igdaloff Parties are nevertheless potentially
                           14 responsible parties under (1) the Comprehensive Environmental Response,
                           15 Compensation, and Liability Act (“CERCLA”), 42 U.S.C. Sections 9607(a) and
                           16 9613(f); and (2) California’s Hazardous Substance Account Act (“HSAA”),
                           17 California Health and Safety Code Section 25363, by virtue of their status as former
                           18 owners and lessors, regardless of whether they personally released hazardous
                           19 substances at the Site.
                           20              Union Pacific accordingly requests an Order (1) that the $4,900,000
                           21 settlement entered into by Union Pacific, on the one hand, and the Igdaloff Parties,
                           22 on the other hand, is in good faith within the meaning of California Code of Civil
                           23 Procedure Section 877.6; and (2) barring all further claims or actions seeking
                           24
                           25
                                    1
                           26   Defendants Herman and Carol Rosen (“Rosens”) have never appeared in this
                              action, and Mr. Rosen’s trial testimony declaration reflects that he and his wife lack
                           27 the financial capability to contribute to the cleanup. Decl. of Direct Test. of Herman
                           28 Rosen at ¶¶ 3-13 (Apr. 1, 2022), ECF No. 458.
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                              1 contribution from the Igdaloff Parties.2 Union Pacific does not anticipate any
                              2 opposition to this Motion. Bell Decl. ¶ 3.
                              3 II.        RELEVANT FACTUAL AND PROCEDURAL BACKGROUND
                              4            A.     CERCLA Claims and Prior Settlements Approved by the Court
                              5            This action relates to contamination from tetrachloroethylene (“PCE”) in soil
                              6 and soil vapor in and around the Property. Plaintiffs George Torres and Roberta
                              7 Torres sued several individuals and entities in May 2017, seeking injunctive relief
                              8 and recovery of all costs and damages for investigating and remediating the
                              9 contamination at the Site. See generally Second Am. Compl. (“SAC”) (Feb. 8,
                           10 2018), ECF No. 83. Union Pacific’s predecessor, Southern Pacific Transportation
                           11 Company (“Southern Pacific”), formerly owned a small portion (6%) of the
                           12 Property (Parcel A) until 1991. Defendants Herman and Carol Rosen owned Parcels
                           13 B and C from 1973-1980, during which time they owned and operated Defendant
                           14 Specialty Carburetor Company (“Specialty Carburetor”) at the Property. In 1980,
                           15 the Rosens sold Parcels B and C to Mr. Igdaloff. From 1980 to 1991, Mr. Igdaloff
                           16 also leased Parcel A from Southern Pacific. Bell Decl. ¶ 4, Ex. 1 (July 30, 1980
                           17 Commercial Lease); Bell Decl. ¶ 5, Ex. 2 (Mar. 31, 1980 Grant Deed). The lease
                           18 agreement requires the Igdaloff Parties to indemnify Union Pacific for the entire
                           19 financial burden arising from any environmental contamination during the lease
                           20 term, including both Union Pacific’s equitable allocation share under CERCLA and
                           21 its attorneys’ fees. Bell Decl. ¶ 4, Ex. 1 at ¶¶ 10 & 13. From approximately
                           22 1980/1981 to 1984, Mr. Igdaloff leased the entire Property, including Parcel A, to
                           23 Jerome Mariam (now deceased) to operate Production Clutch Exchange
                           24 (“Production Clutch”). Plaintiffs alleged—and Union Pacific presented trial
                           25
                           26       2
                                Union Pacific’s claims against the Igdaloff Parties and the Igdaloff Parties’ claims
                           27 against Union Pacific will be resolved pursuant to the Stipulated Judgment the
                           28 parties expect to file following entry of this Court’s order on this Motion.
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                              1 testimony supporting this allegation at trial—that both Specialty Carburetor and
                              2 Production Clutch contaminated the Site. See, e.g., Decl. of Direct Test. of Keith M.
                              3 O’Brien at ¶¶ 16-21, 25-66 (Feb. 21, 2022), ECF No. 420.
                              4            In March 2019, the California Environmental Protection Agency, Department
                              5 of Toxics Substances Control (“DTSC”), issued the Imminent and Substantial
                              6 Endangerment Determination and Order, And Remedial Action Order, 410 E. 32nd
                              7 Street & 317 E. 33rd Street, Los Angeles (Site Code 401862) (“Imminent and
                              8 Substantial Endangerment Order”) naming as responsible parties Herman and
                              9 Carole Rosen, Harold and Evelyn Igdaloff, and the Igdaloff 1993 Family Trust,
                           10 George and Roberta Torres, Specialty Carburetor Corporation, Production Clutch
                           11 Exchanges and Union Pacific Railroad Company. ECF No. 211-1.
                           12              Even though Union Pacific is not a current owner of the Property and has
                           13 never operated at the Property, it has been the only party performing the work
                           14 required under the Imminent and Substantial Endangerment Order and has spent
                           15 over $3 million and anticipates that future response costs will eclipse that figure as
                           16 the remediation is likely to continue for several years. Decl. of Direct Test. of
                           17 Lauren Mancuso at ¶¶ 77-81 (Feb. 21, 2022), ECF No. 417; Decl. of Direct Test. of
                           18 Donna Laudermilch at ¶¶ 90-99 (Feb. 21, 2022), ECF No. 419. Union Pacific has
                           19 estimated that CERCLA and HSAA response costs required to remediate the
                           20 Property will likely range up to $8.6 or $9.2 million. See Decl. of Direct Test. of
                           21 Donna Laudermilch at ¶¶ 90-99 (Feb. 21, 2022), ECF No. 419. This estimated cost
                           22 includes the $3 million that Union Pacific has already incurred. Decl. of Direct
                           23 Test. of Lauren Mancuso at ¶¶ 77-81 (Feb. 21, 2022), ECF No. 417; Decl. of Direct
                           24 Test. of Donna Laudermilch at ¶¶ 90-99 (Feb. 21, 2022), ECF No. 419.
                           25              Union Pacific and the Igdaloff Parties each assert against each other claims
                           26 that require the Court to equitably allocate among the parties’ financial
                           27 responsibility—that is, the costs—for investigating and cleaning up the Site. See
                           28 Igdaloff Countercls. and Cross-cls. (Mar. 29, 2018), ECF No. 91; Union Pacific Am.
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                              1 Countercls. and Third Am. Cross-cls. (Apr. 8, 2021), ECF No. 340. These claims
                              2 arise under (1) CERCLA, 42 U.S.C. Sections 9607(a) and 9613(f); and (2)
                              3 California’s HSAA found at California Health and Safety Code Section 25363.
                              4 Union Pacific and the Igdaloff Parties each assert declaratory relief claims that the
                              5 other parties are liable for the costs of future remediation activities at the Site. ECF
                              6 No. 340 at ¶¶ 60-67, 84-87 (Union Pacific); ECF No. 91 at Claim 5 & Prayer for
                              7 Relief ¶ 8 (Igdaloff).
                              8            On January 18, 2022, this Court granted the motion filed by Plaintiffs George
                              9 and Roberta Torres (“Torres”) and Third-Party Defendants TSM I, LLC and TSM
                           10 II, LLC’s (“TSM”) for determination of good faith settlement regarding their
                           11 settlement with Union Pacific. ECF No. 403. That settlement, involving a
                           12 settlement payment to Union Pacific, resolved Plaintiffs’ claims that all Defendants
                           13 caused or contributed to the past or present PCE contamination at the Property and
                           14 were liable to Plaintiffs for contribution for the costs to investigate and clean up the
                           15 Site, and likewise resolved Union Pacific’s contribution counterclaims and third-
                           16 party claims against Torres and TSM. Because Union Pacific has incurred the vast
                           17 majority of the investigation and response costs, Union Pacific effectively steps into
                           18 the shoes of a plaintiff at trial.
                           19              On April 11, 2022, this Court issued an Amended Order granting a motion for
                           20 determination of good faith settlement between Union Pacific, on the one hand, and
                           21 the Estate of Jerome L. Mariam, deceased (“Mariam”), Federal Insurance Company
                           22 (“Federal Insurance”), and Production Clutch, on the other hand. ECF No. 467.
                           23 This second settlement, also involving a settlement payment to Union Pacific,
                           24 resolved Union Pacific’s contribution claims against Mariam, Federal Insurance,
                           25 and Production Clutch. The Court’s Amended Order resulted in the dismissal with
                           26 prejudice of all cross-claims against Mariam and Production Clutch brought by
                           27 Union Pacific and barred all claims or actions seeking contribution from Mariam,
                           28 Federal Insurance, and Production Clutch by other non-settling parties.
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                              1            In view of the Rosen’s status as an orphan party and Rosen’s inability to
                              2 contribute towards the Site cleanup, and following Union Pacific’s settlements with
                              3 Torres/TSM and Mariam/Federal Insurance, the Igdaloff Parties and Union Pacific
                              4 are the only remaining parties to this action with the financial ability to contribute
                              5 towards the Site investigation and remediation.
                              6            B.     The Court’s Pre-Trial Rulings
                              7            On March 18, 2022 (and as amended on April 11, 2022), the Court granted
                              8 Union Pacific’s Motion in limine based on the Igdaloff Parties’ failure to participate
                              9 in pre-trial discussions with other parties or to file the required pre-trial submissions.
                           10 ECF No. 467. As a result, the Court ordered that the “[Igdaloff Parties] shall not
                           11 present any evidence for any claim or defense, shall not object to any of Union
                           12 Pacific’s evidence, and shall only be permitted to cross-examine Union Pacific’s
                           13 witnesses.” Id. at 4:15-17. The Court also granted the Igdaloff Parties’ counsel’s
                           14 motion to withdraw. Id. at 9:22-11:28.
                           15              No counsel has subsequently made an appearance on behalf of the Igdaloff
                           16 Parties in this action.
                           17              C.     Settlement Terms
                           18              Union Pacific and the Igdaloff Parties have engaged in extensive settlement
                           19 negotiations, including multiple mediation sessions with Mediator Timothy
                           20 Gallagher. See Joint Status Report Re: Mediation (Dec. 14, 2020), ECF No. 326.
                           21 Both Union Pacific and the Igdaloff Parties were represented by experienced
                           22 counsel in negotiations conducted with Mr. Gallagher. Bell Decl. ¶ 6. In
                           23 recognition of the factual and procedural history of this case, and the risk and
                           24 uncertainty of trial, and without admitting any fault, responsibility or liability, the
                           25 Igdaloff Parties and Union Pacific have entered into a settlement with the following
                           26 key terms:
                           27                    The Igdaloff Parties and Union Pacific will enter into a Stipulated
                           28                     Judgment providing for the Igdaloff Parties’ payment of $4,900,000 to
                                                                                                              34999\14907697.1
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                              1                   Union Pacific, to be secured by recorded abstracts of judgment creating
                              2                   liens on real property owned by the Igdaloff Parties, while Union
                              3                   Pacific will stay and forego enforcement of the judgment until after Mr.
                              4                   Igdaloff’s death, along with restrictions and stipulations relating to the
                              5                   distribution of proceeds from the sale of certain of the Igdaloff Parties’
                              6                   real properties should the Igdaloff Parties voluntarily sell certain of
                              7                   their real properties prior to Mr. Igdaloff’s death. Bell Decl. ¶ 2.
                              8                  Union Pacific will continue in its role as the sole party responding to
                              9                   the Imminent and Substantial Endangerment Order and as the sole
                           10                     party paying to investigate and remediate the Site. Id.
                           11                    Each party shall be responsible for their own attorneys’ fees and costs
                           12                     incurred in connection with the action. Id.
                           13                    The settlement is conditioned upon the Court issuing an Order
                           14                     determining that the settlement was entered into in good faith and
                           15                     barring further contribution claims and actions against the Igdaloff
                           16                     Parties.
                           17              An Order of this Court granting this motion would make a trial in this action
                           18 unnecessary.
                           19 III.         ARGUMENT
                           20              A.     Federal Courts Can Determine a Settlement Is in Good Faith.
                           21              A settling party may seek a determination that a settlement was made in good
                           22 faith under California Code of Civil Procedure Sections 877 and 877.6 in federal
                           23 court. See Mason & Dixon Intermodal, Inc. v. Lapmaster Intern’l LLC, 632 F.3d
                           24 1056, 1064 (9th Cir. 2011) (holding that the district court correctly applied
                           25 California law, Section 877, to resolve the third-party defendant and cross-claimant
                           26 ITG Transportation’s motion to dismiss pursuant to good faith settlement); see also
                           27 Fed. Sav. & Loan Ins. Corp. v. Butler, 904 F.2d 505, 511 (9th Cir. 1990):
                           28             [S]ection 877.6 is essentially a procedural statute. The section 877.6
                                                                                                               34999\14907697.1
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                              1            procedures do not govern a federal action even though the settlement
                                           agreement provides that California law applies. It is the substantive
                              2            provisions of California law that are applicable (in this case section
                              3            877). However, nothing is to prevent the district court from granting a
                                           motion for an early determination of the good faith question. In fact, it
                              4            makes eminent good sense to do so.
                              5
                                           B.     California Law Provides That the Settling Parties Are Entitled to a
                              6                   Determination That the Settlement Was Made in Good Faith.
                              7
                                           California Code of Civil Procedure Section 877 provides for the release of a
                              8
                                    settling party from any liability in an action if the settlement or dismissal is reached
                              9
                                    in good faith. This Section provides, in pertinent part:
                           10
                           11              Where a release, dismissal with or without prejudice, or a covenant not
                                           to sue or not to enforce judgment is given in good faith before verdicts
                           12              or judgment to one or more of a number of tortfeasors claimed to be
                                           liable for the same tort, or to one or more other co-obligors mutually
                           13              subject to contribution rights, … (b) It shall discharge the party to
                                           whom it is given from all liability for any contribution to any other
                           14              parties.
                           15
                                    Cal. Civ. Proc. Code § 877.
                           16
                                           California Code of Civil Procedure Section 877.6(b) also provides, in
                           17
                                    pertinent part:
                           18
                                           The issue of the good faith of a settlement may be determined by the
                           19              court on the basis of affidavits served with the notice of hearing, and
                                           any counter-affidavits filed in response, or the court may, in its
                           20
                                           discretion receive other evidence at the hearing.
                           21 Cal. Civ. Proc. Code § 877.6(b).
                           22       The California Supreme Court analyzed California Code of Civil Procedure
                           23 Section 877.6 in Tech-Bilt, Inc. v. Woodward-Clyde & Associates, 38 Cal.3d 488
                           24 (1985). In Tech-Bilt, the Court held that to properly define “good faith,” a trial court
                           25 should inquire as to whether the amount of the settlement was in the “reasonable
                           26 range” of the settling tortfeasor’s proportional share of comparative liability for the
                           27 plaintiff’s injury, taking into consideration the facts and circumstances in the
                           28 particular case. Id. at 499. Whether a settling defendant paid less than its
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                              1 theoretical proportionate or fair share did not necessarily indicate “bad faith.” Id.
                              2 Instead, the Court reasoned that such a rule would unduly discourage settlements:
                              3            [T]he damages are often speculative, and the probability of legal
                                           liability therefor is often uncertain or remote. And even where the
                              4            claimant’s damages are obviously great, and the liability therefor
                              5            certain, a disproportionately low settlement figure is often reasonable in
                                           the case of a relatively insolvent, and uninsured, or underinsured joint
                              6            tortfeasor.
                              7 Id.
                              8            The Court further enumerated factors to be considered when determining
                              9 whether the settlement is within the “reasonable range” so as to be considered a
                           10 good faith settlement as follows:
                           11              1. Approximation of the plaintiff’s potential total recovery and the settlor’s
                           12 proportional liability;
                           13              2. The amount paid in settlement;
                           14              3. The allocation of settlement proceeds among plaintiffs;
                           15              4. Recognition that a settlor should pay less in settlement than if he or she was
                           16 found liable after trial;
                           17              5. Financial condition and insurance policy limits of the settling defendant;
                           18 and,
                           19              6. The existence of collusion, fraud, or tortious conduct to injure the non-
                           20 settling defendants.
                           21 Id. at 499-500.
                           22              The above factors should also be considered in the context of the practical
                           23 consideration that the trial court’s “evaluation be made on the basis of information
                           24 available at the time settlement.” Id. at 499-500. A settlement figure must not be
                           25 grossly disproportionate to what a reasonable person would estimate the settling
                           26 party’s liability to be at the time of the settlement. The party asserting the lack of
                           27 good faith has the burden of proof that the settlement is “so far out of the ballpark”
                           28 in relation to these factors that it is inconsistent with the equitable objectives of
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                              1 Section 877.6. See Cal. Civ. Proc. Code § 877.6(d); Tech-Bilt, 38 Cal.3d at 499; N.
                              2 Cnty. Contractor’s Ass’n v. Touchstone Ins. Servs., 27 Cal. App. 4th 1085, 1091
                              3 (1994). The settling party’s proportionate share of liability is a critical factor and
                              4 “[t]he ultimate determination of good faith is whether the settlement is grossly
                              5 disproportionate to what a reasonable person at the time of settlement would
                              6 estimate the settlor’s liability to be.” City of Grand Terrace v. Super. Ct., 192 Cal.
                              7 App. 3d 1251, 1262 (1987).
                              8            Because Union Pacific would be the only party at trial seeking recovery of
                              9 investigation and remediation costs, Union Pacific is in the shoes of the Tech-Bilt
                           10 “plaintiff” for purposes of this settlement.
                           11
                                           C.     Pursuant to the Tech-Bilt Factors, the Settlement Between Union
                           12                     Pacific and the Igdaloff Parties Was Made in Good Faith.
                           13              Pursuant to the standards set forth by the California Supreme Court in Tech-
                           14 Bilt as applied to the facts of the instant case, the settlement between Union Pacific
                           15 and the Igdaloff Parties was entered into in good faith and is well within the
                           16 reasonable range of Igdaloff Parties’ liability.
                           17                     1.     Factor Two: The Amount Paid.
                           18              The Igdaloff Parties have agreed to pay Union Pacific $4.9 million to settle
                           19 the case, which resolution will ultimately be effected by a Stipulated Judgment to be
                           20 filed following entry of the Court’s order on this Motion. The amount being paid by
                           21 the Igdaloff Parties represents over 50% of the total estimated costs to fully
                           22 investigate and remediate the Property, which costs will likely range between $8.6
                           23 or $9.2 million, including costs incurred by Union Pacific to date.
                           24                     2.     Factor Three: Allocation Among Plaintiffs.
                           25              This settlement payment is being made only to Union Pacific.
                           26                     3.Factors One and Four: A Rough Approximation of the
                                                    Igdaloff Parties’ Proportional Liability, Discounted for
                           27                       Settlement.
                           28       As delineated in Tech-Bilt, in determining a settling defendant’s equitable
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                              1 proportionate share of liability, the court does not look to the plaintiff’s claim for
                              2 damages, but rather, the judge tries to determine a “rough approximation” of what
                              3 the plaintiff would actually recover if the plaintiff were to proceed to trial. As the
                              4 court stated in Horton v. Super. Ct., 194 Cal. App. 3d 727, 736 (1987): “This
                              5 amount has been discounted for settlement purposes based on the savings in trial
                              6 time, defense costs, attorney’s fees, and the avoidance of the risk inherent in every
                              7 trial of a verdict or judgment larger than expected.”
                              8            The ultimate cost to investigate and remediate contamination at the Property
                              9 is somewhat uncertain because the investigation and remediation is ongoing, and
                           10 will ultimately depend on factors outside of Union Pacific’s control, including
                           11 DTSC directives. That said, Union Pacific has estimated that the response costs for
                           12 the investigation and remediation of contamination at the Site will total
                           13 approximately $8.6 to $9.2 million, inclusive of the $3 million already incurred by
                           14 Union Pacific. Decl. of Direct Test. of Lauren Mancuso at ¶¶ 77-81 (Feb. 21, 2022),
                           15 ECF No. 417; Decl. of Direct Test. of Donna Laudermilch at ¶¶ 90-99 (Feb. 21,
                           16 2022), ECF No. 419.
                           17              In expert discovery here, Union Pacific’s CERCLA/HSAA cost allocation
                           18 expert Richard Lane White prepared an allocation framework assigning shares of
                           19 liability between the parties based on quantitative factors traditionally considered by
                           20 courts in CERLA actions.3 See, e.g., Amoco Oil Co. v. Borden, Inc., 889 F.2d 664,
                           21 672-73 (5th Cir. 1989) (describing “Gore” factors); United States v. R.W. Meyer,
                           22 Inc., 932 F.2d 568, 571 (6th Cir. 1991) (same); United States v. Davis, 31 F. Supp.
                           23 2d 45, 63 (D.R.I. 1998), aff’d, 261 F.3d 1 (1st Cir. 2001) (describing “Torres”
                           24 factors). In his trial testimony, Mr. White opined that the Igdaloff Parties’ baseline
                           25
                           26       3
                                Mr. White reserved consideration of qualitative factors for the Court.
                           27 Consideration of qualitative factors could further increase or reduce the Igdaloff
                           28 Parties’ equitable shares.
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                              1 allocation share was 10.63% if orphan shares and parties’ solvency are not
                              2 considered, and without taking into account the settlements this Court has already
                              3 confirmed as having been made in good faith.4 See Decl. of Direct Test. of Richard
                              4 Lane White at 3:9-10 (Feb. 21, 2022), ECF No. 423. However, Mr. White also
                              5 opined that after taking into account orphan parties/shares (Rosen) and the
                              6 appropriate adjustments for the Torres settlement and the Mariam/Federal Insurance
                              7 settlement on a pro tanto basis,5 the Igdaloff Parties’ baseline allocation of 10.63%
                              8 significantly increases to 89.44%. Id. at 27:13. The Igdaloff Parties did not timely
                              9 produce a competing expert allocation opinion.
                           10              Additionally, this Court has previously issued an Order granting the Igdaloff
                           11 Parties’ trial counsel’s motion to withdraw and, further, granting Union Pacific’s
                           12 Motion in limine and ordering that the Igdaloff Parties shall not be allowed to
                           13 present any evidence for any claim or defense, shall not be permitted to object to
                           14 any of Union Pacific’s evidence, and shall only be allowed to cross-examine Union
                           15 Pacific’s witnesses at trial. ECF No. 467.
                           16              A settlement payment of $4.9 million exceeds the Igdaloff Parties’ baseline
                           17 allocation of 10.63%—but is less than the allocation of 89.44% accounting for prior
                           18 settlements and orphan parties—of the estimated $8.6 to $9.2 million in
                           19
                                    4
                           20         Mr. White did not distinguish between the persons and entities that make up the
                                    Igdaloff Parties for the purposes of his allocation analysis.
                           21
                                    5
                           22         Under the pro rata approach, Union Pacific’s potential recovery from the Igdaloff
                                    Parties would be reduced by the settling parties’ (i.e., Torres’s and Mariam’s)
                           23       proportional shares of liability. By contrast, under the pro tanto approach Union
                           24       Pacific’s potential recovery from the Igdaloff Parties would be reduced solely by the
                                    dollar amounts paid by the settling defendants (i.e., Torres and Mariam) as opposed
                           25       to their proposal shares. While Union Pacific believes that a pro tanto allocation is
                           26       appropriate in this action (see ECF No. 410 at 20-24), this Court has, thus far,
                                    declined to rule on Union Pacific’s request that the Court apply the pro tanto
                           27       approach, adding uncertainty for both parties relating to Union Pacific’s potential
                           28       recovery from Igdaloff Parties if this matter goes to trial. ECF No. 467.
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                              1 investigation and remediation costs for the Property and reflects: (1) the Court’s
                              2 approval of the prior good faith settlements with Torres and Mariam (ECF Nos. 403
                              3 & 467), as well as any uncertainty regarding the Court’s adoption of a pro rata or
                              4 pro tanto apportionment of the settling parties’ settlement shares; (2) Rosen’s
                              5 orphan status due to their inability to contribute to the costs of investigation and
                              6 remediation; (3) the Igdaloff Parties’ lease with Southern Pacific requiring that the
                              7 Igdaloff Parties indemnify Union Pacific for the entire financial burden arising from
                              8 any environmental contamination during Igdaloff’s lease term and its attorneys’
                              9 fees; and (4) the likely insurmountable problems created for the Igdaloff Parties in
                           10 view of the Court’s prior order granting Union Pacific’s Motion in Limine to
                           11 preclude the Igdaloff Parties from presenting witnesses or evidence at trial. ECF
                           12 No. 467.
                           13
                                                  4.     Factor Five: The Igdaloff Parties’ Financial Condition and
                           14                            Insurance.
                           15              The Igdaloff Parties do not have insurance for the potential liability at issue in
                           16 this matter. Union Pacific does not believe this factor weighs heavily one way or
                           17 the other in the present determination.
                           18
                                                  5.     Factor Six: Collusion, Fraud, or Tortious Conduct to Injure
                           19                            the Non-Settling Defendants.
                           20              Finally, Union Pacific, which has already incurred more than $3 million in
                           21 response costs, has agreed to settle its claims against the Igdaloff Parties for the
                           22 $4,900,000 settlement payment. As set forth in the Declaration of Sarah P. Bell, this
                           23 settlement is the product of arms’ length negotiations among experienced counsel,
                           24 under the direction of an experienced mediator, and in an adversarial setting. Bell
                           25 Decl. ¶ 6. The material terms of the settlement have been disclosed. There is no
                           26 evidence of collusion, fraud, or deceit with regard to this settlement. It is both fair
                           27 and equitable.
                           28             Under Tech-Bilt, this settlement was made in good faith.
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                              1 IV.        CONCLUSION
                              2            For the reasons stated above, Union Pacific requests that this Court (1) grant
                              3 the motion for good faith settlement pursuant to California Code of Civil Procedure
                              4 Sections 877 and 877.6; and (2) bar all further claims or actions seeking contribution
                              5 from the Igdaloff Parties.
                              6
                              7 Dated: July 11, 2022                       FARELLA BRAUN + MARTEL LLP
                              8
                              9                                            By:          /s/ Sarah P. Bell
                           10                                                     Sarah P. Bell

                           11                                              Attorneys for Defendant Union Pacific Railroad
                                                                           Company
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